               Case 20-60067-jwc                  Doc 1         Filed 01/02/20 Entered 01/02/20 21:07:17                               Desc Main1/02/20 9:06PM
                                                                Document      Page 1 of 19
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Nacasha
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            Leca Ruffin
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2946
     Individual Taxpayer
     Identification number
     (ITIN)




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                                                             Document      Page 2 of 19
Debtor 1   Nacasha Leca Ruffin                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 7460 Wildercliff Drive
                                 Atlanta, GA 30328
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Fulton
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1    Nacasha Leca Ruffin                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      DO@King Plow Arts Center LLC                                 Relationship to you

                                                          Northern District of
                                              District    Georgia                       When     1/02/20               Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Nacasha Leca Ruffin                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11                   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).               No.
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Nacasha Leca Ruffin                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1    Nacasha Leca Ruffin                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Nacasha Leca Ruffin
                                 Nacasha Leca Ruffin                                               Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     January 2, 2020                                   Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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Debtor 1   Nacasha Leca Ruffin                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ William A. Rountree                                            Date         January 2, 2020
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                William A. Rountree
                                Printed name

                                Rountree, Leitman & Klein, LLC
                                Firm name

                                Century Plaza I
                                2987 Clairmont Road, Ste 175
                                Atlanta, GA 30329
                                Number, Street, City, State & ZIP Code

                                Contact phone     404-584-1244                               Email address         swenger@rlklawfirm.com
                                616503 GA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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 Fill in this information to identify your case:

 Debtor 1                     Nacasha Leca Ruffin
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF GEORGIA

 Case number
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                 amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                Unsecured claim
 1                                                                   What is the nature of the claim?              2650 Cascade Road            $ $444,429.30
                                                                                                                   SW Atlanta, GA 30311
                                                                                                                   Fulton County
              ACE(Acess Capital For
              Entrepeneurs)                                          As of the date you file, the claim is: Check all that apply
              504 Fair St. SW                                                Contingent
              Atlanta, GA 30313                                              Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

              infor@aceloans.org                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $ $749,429.30

              678 335-5600 ext 120                                                  Value of security:                               - $ $790,000.00
              Contact phone                                                         Unsecured claim                                    $ $444,429.30


 2                                                                   What is the nature of the claim?                                           $ $18,000.00
              ADP
              5680 New Northside Dr. NW                              As of the date you file, the claim is: Check all that apply
              Atlanta, GA 30328                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
                                                                             No


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 1

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 Debtor 1          Nacasha Leca Ruffin                                                              Case number (if known)

            courtney.Miller@adp.com
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            770 955-3600                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 3                                                                   What is the nature of the claim?                                          $ $79,295.01
            American Express
            c/o Zwicker & Associates                                 As of the date you file, the claim is: Check all that apply
            3505 Koger Blvd Ste 125                                          Contingent
            Duluth, GA 30096                                                 Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?
            Keith D. Taylor

            fax 678 924-9652                                                  No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            678 924-9644                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 4                                                                   What is the nature of the claim?                                          $ $5,148.44
            American Express (Delta Card)
            c/o Zwicker & Associates                                 As of the date you file, the claim is: Check all that apply
            3505 Koger Blvd. Ste 125                                         Contingent
            Duluth, GA 30096                                                 Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            fax678 924-9652                                                   No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            678-924-9644                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 5                                                                   What is the nature of the claim?                                          $ $68,000.00
            ARF (Advanced Rest. Finance)
            c/o Benjamin E. Kelly PS                                 As of the date you file, the claim is: Check all that apply
            9218 Roosevelt Way NE                                            Contingent
            Seattle, WA 98115                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            fax 206365-0575                                                   No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            2063659090                                                              Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 2

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 Debtor 1          Nacasha Leca Ruffin                                                              Case number (if known)

 6                                                                   What is the nature of the claim?                                          $ $35,000.00
            Capital One Spark Business
            1680 Capital One Dr.                                     As of the date you file, the claim is: Check all that apply
            Mc Lean, VA 22102                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            fax 804-968-3550                                                  No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            800 867-0904                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?                                          $ $1,572,202.00
            CenterState Bank
            3565 Piedmont Rd, NE                                     As of the date you file, the claim is: Check all that apply
            Bldg. 3, Suite 210                                               Contingent
            Atlanta, GA 30305                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?                                          $ $943.11
            Children's Healthcare of Atlan
            PO Box 116210                                            As of the date you file, the claim is: Check all that apply
            Atlanta, GA 30368                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            billing@choa.org                                                  No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $

            404 785-5589                                                            Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Sales & Use Tax             $ $3,017.83
            Georgia Department of Revenue
            1800 Centrury Center Blvd                                As of the date you file, the claim is: Check all that apply
            Suite 9100                                                       Contingent
            Atlanta, GA 30345                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                        Page 3

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 Debtor 1          Nacasha Leca Ruffin                                                              Case number (if known)


            bheinz@law.ga.gov                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?                                          $ $4,437.27
            Georgia Department of Revenue
            1800 Centrury Center Blvd                                As of the date you file, the claim is: Check all that apply
            Suite 9100                                                       Contingent
            Atlanta, GA 30345                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            Bheinz@law.ga.gov                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 11                                                                  What is the nature of the claim?              Sales & Use Tax             $ $3,928.07
            Georgia Department of Revenue
            1800 Centrury Center Blvd                                As of the date you file, the claim is: Check all that apply
            Suite 9100                                                       Contingent
            Atlanta, GA 30345                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            bheinz@law.ga.gov                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 12                                                                  What is the nature of the claim?              Sales & Use tax             $ $3,628.12
            Georgia Department of Revenue
            1800 Centrury Center Blvd                                As of the date you file, the claim is: Check all that apply
            Suite 9100                                                       Contingent
            Atlanta, GA 30345                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            bheinz@law.ga.gov                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 13                                                                  What is the nature of the claim?                                          $ $7,604.74
            Georgia Department of Revenue
            1800 Centrury Center Blvd
            Suite 9100


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 Debtor 1          Nacasha Leca Ruffin                                                              Case number (if known)

            Atlanta, GA 30345                                        As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            bheinz@law.ga.gov                                                 No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 14                                                                  What is the nature of the claim?                                          $ $40,000.00
            Internal Revenue Service
            PO Box 7346                                              As of the date you file, the claim is: Check all that apply
            Philadelphia, PA 19101                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            fax 703368-9694                                                   No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 15                                                                  What is the nature of the claim?                                          $ $3,507.22
            Merrick Bank
            Lockbox operations #660702                               As of the date you file, the claim is: Check all that apply
            2701 East Grauwyler Rd Bldg 1                                    Contingent
            Dallas, TX 75266                                                 Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 16                                                                  What is the nature of the claim?                                          $ $2,300.00
            Opentable, Inc.
            29109 Network Place                                      As of the date you file, the claim is: Check all that apply
            Chicago, IL 60673                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            fax 415 267-0936                                                  No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


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 Debtor 1          Nacasha Leca Ruffin                                                              Case number (if known)

            Contact phone                                                           Unsecured claim                                    $


 17                                                                  What is the nature of the claim?                                          $ $1,549.68
            Piedmont Healthcare Physicians
            1968 Peachtree S. NW                                     As of the date you file, the claim is: Check all that apply
            Atlanta, GA 30309                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 18                                                                  What is the nature of the claim?                                          $ $1,094.12
            QVC Inc. Easy Pay
            1200 Wilson Drive                                        As of the date you file, the claim is: Check all that apply
            West Chester, PA 19380                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

            fax 770 612-7335                                                  No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 19                                                                  What is the nature of the claim?                                          $ $37,000.00
            SunTrust Business
            7455 Chancellor Dr.                                      As of the date you file, the claim is: Check all that apply
            Orlando, FL 32809                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 20                                                                  What is the nature of the claim?                                          $ $16,913.35
            Sysco Atlanta, LLC.
            2225 Riverdale Rd                                        As of the date you file, the claim is: Check all that apply
            Atlanta, GA 30337                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply




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 Debtor 1          Nacasha Leca Ruffin                                                              Case number (if known)

                                                                     Does the creditor have a lien on your property?

            knott.cynthia@va.sysco.com                                       No
            Contact                                                          Yes. Total claim (secured and unsecured)                  $

            404 765-9900                                                           Value of security:                                -$
            Contact phone                                                          Unsecured claim                                    $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Nacasha Leca Ruffin                                                          X
       Nacasha Leca Ruffin                                                                  Signature of Debtor 2
       Signature of Debtor 1


       Date      January 2, 2020                                                            Date




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      Nacasha Leca Ruffin                                                                      Case No.
                                                                                   Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: January 2, 2020                                                  /s/ Nacasha Leca Ruffin
                                                                        Nacasha Leca Ruffin
                                                                        Signature of Debtor




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                         2888 Woodstock Blvd
                         Atlanta, GA 30341




                         ACE(Acess Capital For
                         Entrepeneurs)
                         504 Fair St. SW
                         Atlanta, GA 30313



                         ADP
                         5680 New Northside Dr. NW
                         Atlanta, GA 30328



                         American Express
                         c/o Zwicker & Associates
                         3505 Koger Blvd Ste 125
                         Duluth, GA 30096



                         American Express (Delta Card)
                         c/o Zwicker & Associates
                         3505 Koger Blvd. Ste 125
                         Duluth, GA 30096



                         ARF (Advanced Rest. Finance)
                         c/o Benjamin E. Kelly PS
                         9218 Roosevelt Way NE
                         Seattle, WA 98115



                         Atlanta Perinatal Consultants,
                         5780 Peachtree Dunwoody Rd
                         Atlanta, GA 30342



                         Barclays Visa
                         PO Box 60517
                         City of Industry, CA 91716



                         Capital One Spark Business
                         1680 Capital One Dr.
                         Mc Lean, VA 22102
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                     CenterState Bank
                     3565 Piedmont Rd, NE
                     Bldg. 3, Suite 210
                     Atlanta, GA 30305



                     Children's Healthcare of Atlan
                     PO Box 116210
                     Atlanta, GA 30368



                     Christian Ruffin
                     7460 Wildercliff Dr
                     Atlanta, GA 30328



                     Dr. Lacey & Freschi PC
                     1100 Johnson Ferry Rd
                     Ste 425
                     Atlanta, GA 30342



                     Dr. Lacey & Freschi PC
                     PO Box 198988
                     Nashville, TN 37219



                     Georgia Department of Revenue
                     1800 Centrury Center Blvd
                     Suite 9100
                     Atlanta, GA 30345



                     Internal Revenue Service
                     PO Box 7346
                     Philadelphia, PA 19101



                     Labcorp
                     3940 Arrowhead Blvd
                     #240
                     Mebane, NC 27302



                     Labcorp
                     PO BOX 2240
                     Burlington, NC 27216
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                     Merrick Bank
                     Lockbox operations #660702
                     2701 East Grauwyler Rd Bldg 1
                     Dallas, TX 75266



                     Opentable, Inc.
                     29109 Network Place
                     Chicago, IL 60673



                     Paypal Smart Connect
                     Syncrony
                     2211 North First St.
                     San Jose, CA 95131



                     Paypal Smart Connect
                     Syncrony
                     PO Box 960080
                     Orlando, FL 32896



                     Piedmont Healthcare Physicians
                     1968 Peachtree S. NW
                     Atlanta, GA 30309



                     Preferred Diagnostice Centers
                     430 Woodruff Rd Ste 450
                     Greenville, SC 29607



                     QVC Inc. Easy Pay
                     1200 Wilson Drive
                     West Chester, PA 19380



                     Republic Bank
                     601 West Market St.
                     Louisville, KY 40202



                     Select Portfolio Servicing, In
                     3217 S. Decker Lake Dr
                     Salt Lake City, UT 84119
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                     SunTrust Business
                     7455 Chancellor Dr.
                     Orlando, FL 32809



                     Sysco Atlanta, LLC.
                     2225 Riverdale Rd
                     Atlanta, GA 30337



                     Sysco Business Center
                     24500 Hwy 290
                     Cypress, TX 77429



                     Time Payments
                     1600 District Ave.
                     Ste 200
                     Burlington, MA 01803



                     Whaley Parts and Supply
                     Biehl & Biehl Inc.
                     325 E. Fullerton Ave
                     Carol Stream, IL 60188



                     Zulily LLC
                     C/o Global Credit Collection
                     5440 N. Cumberland Ave Ste 300
                     Chicago, IL 60656
